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                            EXHIBIT A
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                             IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLORADO

   Civil Action No.: 1:21-cv-03266

   CARLOS CUESTA,

   Plaintiff,

   v.

   ROCK 1 LLC and DP RETAIL 101 LLC,

   Defendants.




                     DECLARATION OF ANDREW LEVINE IN SUPPORT OF
                           DEFENDANTS’ MOTION TO DISMISS

           1.        My name is Andrew Levine. I am the Chief Operating Officer for Green Dragon, which

   operates the licensed marijuana dispensary located at 930 W Byers Place in Denver Colorado (the

   “Dispensary”).

           2.        I am over the age of eighteen (18) and have personal knowledge of the facts set forth

   in this declaration and, if called to testify, would testify truthfully as to the same.

           3.        Pursuant to Colorado law, the Dispensary requires that all visitors provide acceptable

   forms of identification before entering the Dispensary. Additionally, the Dispensary maintains a log of

   all visitor activity in accordance with Colorado law.

           4.        In my position, I have access to the visitor log, which is maintained digitally.

           5.        I reviewed the visitor log for the Dispensary from January 1, 2018 to the present

   date (March 3, 2022) via records accessible to me.




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           6.       From January 1, 2018 to March 3, 2022 Carlos Alberto Cuesta visited the

   Dispensary on one occasion: September 11, 2021 at 7:29 p.m.

           7.       Mr. Cuesta presented a Florida driver’s license with a listed address in Miami,

   FL.

           8.       The logs are kept in the ordinary course of the Dispensary’s regularly conducted

   business activity. These electronic logs are generated at the same time the action corresponding

   to the records takes place.

          Under penalties of perjury, I declare that I have read the foregoing declaration and that

   the facts stated in it are true.

          Executed on this 4th day of March, 2022 in Edgewater, Colorado.


                                                        _____________________
                                                        ANDREW LEVINE




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